                                        1                                       Exhibit C
                                        2                              Lease Modification Agreements
                                        3                                       (attached)
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          Bryan Cave LLP


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**Definition of Gross Sales. The term “Gross Sales” shall include money received by, or paid to, Tenant in
connection with the business conducted by it on the Premises, less any sales taxes or excise taxes based upon
sales price collected from customers and for which Tenant is accountable to any government or
governmental agency, less the amount of any actual refunds or credits made by Tenant on returnable
merchandise, and less the amounts paid or payable to any firm or person for the use of any credit system or
credit card service.




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                                        1                                         Exhibit D
                                        2                      Buyer’s Adequate Assurances of Future Performance
                                        3                                         (attached)
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          Bryan Cave LLP


          (602) 364-7000




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STARCORP, LLC
ADEQUATE ASSURANCE PACKAGE
March 9, 2016


CONTENTS:
   Part I: Sale Process – Adequate Assurance
   Part II: Information about Starcorp, LLC
   Part II: Financial Information

DISCLAIMER REGARDING FORWARD-LOOKING STATEMENTS:

This presentation contains forward-looking statements about Starcorp, LLC (“Starcorp,” or the
“Buyer”). These forward-looking statements are based on confidential data received from the
Debtors (defined below) and Buyer’s lender. As with any projection or forecast, they are
inherently susceptible to uncertainty and changes in circumstances. Actual results may vary
materially from those expressed or implied in these forward-looking statements. Important
factors that could cause Buyer’s actual results to differ materially from those in these forward-
looking statements include government regulation, economic, strategic, political, and social
conditions. Any forward-looking statements made herein speak only as of the date on which they
are made; Buyer is under no obligation to, and expressly disclaims any obligation to, update or
alter these forward-looking statements, whether as a result of new information, subsequent
events or otherwise.




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 PART I: SALE PROCESS – ADEQUATE ASSURANCE

 On July 27, 2015, Frontier Star, LLC, a Delaware limited liability company (“FS”), filed a petition
  for relief under Chapter 11, Title 11 of the United States Bankruptcy Code (the “Bankruptcy
  Code”), in the U.S. Bankruptcy Court for the District of Arizona Case (the “Bankruptcy Court”)
  Case Number 15-9383 (the “FS Case”).

 On July 27, 2015, Frontier Star CJ, LLC, a Delaware limited liability company (“FSCJ”), filed a
  petition for relief under Chapter 11 of the Bankruptcy Code, Bankruptcy Court Case Number 15-
  9385 (the “FSCJ Case”).

 On August 13, 2015, the Bankruptcy Court entered the Order Granting Debtor’s Motion for Joint
  Administration of Pending Bankruptcy Cases [FS Case, Docket No. 50], causing the joint
  administration of the FS Case and the FSCJ Case, with all filings in the Bankruptcy Cases to be
  made in the FS Case.

 On November 17, 2015, Frontier Star 1, LLC, a Delaware limited liability company (“FS1”), filed a
  petition for relief under Chapter 11 of the Bankruptcy Code, Bankruptcy Court Case Number 15-
  14679 (the “FS1 Case”).

 On November 17, 2015, MIH Admin Services, LLC, an Arizona limited liability company
  (“MIH”), filed a petition for relief under Chapter 11 of the Bankruptcy Code, Bankruptcy Court
  Case Number 15-14683 (the “MIH Case”).

 On November 19, 2015, the Bankruptcy Court entered Orders in the FS1 Case and the MIH Case,
  indicating that the FS1 Case and the MIH Case would be jointly administered with the FS Case and
  the FSCJ Case, with all filings in the Bankruptcy Cases to be made in the FS Case. FS, FSCJ, FS1
  and MIH are collectively referred to herein as the “Debtors,” and the FS Case, the FSCJ Case, the
  FS1 Case and the MIH Case are collectively referred to as the “Bankruptcy Cases.” The Honorable
  Eddward P. Ballinger, Jr. is the presiding judge in the Bankruptcy Cases.

 On November 18, 2015, the Bankruptcy Court entered the Order Approving Appointment of P.
  Gregg Curry as Chapter 11 Trustee (“Trustee”) for the Bankruptcy Cases [Dkt. 428].

 The Debtors are affiliated companies engaged in the ownership and operation of franchised
  restaurant businesses (the “Business”) operated under the Carl’s Jr. and Hardee’s brands.

 FS and FSCJ have franchise agreements (collectively, the “Franchise Agreements”) with Hardee’s
  Restaurants LLC and Carl’s Jr. Restaurants LLC (collectively, the “Franchisors”).

 The Trustee has determined that selling substantially all of the Debtor’s assets will maximize and
  preserve the value of the Business. The Debtors and Starcorp have entered into that certain
  Purchase and Sale Agreement dated February 29, 2016, as amended on March 7, 2016, and as
  further amended on March 8, 2016 (the “PSA”), which provides for the sale of substantially all of
  the Debtors’ assets to Buyer for $40,000,000 in cash consideration at closing, plus Starcorp’s
  assumption of certain designated contracts and liabilities.




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 On March 1, 2016, the Trustee filed the Motion For Approval of Sale of Substantially All of
  Debtors’ Assets Free and Clear of Liens, Claims, Encumbrances, and Interests [Dkt. 752] (the “Sale
  Motion”), and the Motion for Order (A) Approving Bidding Procedures for the Sale of Substantially
  All of Debtors’ Assets, (B) Scheduling an Auction and Sale Hearing, and (C) Approving Expense
  Reimbursement [Dkt. 753] (the “Bidding Procedures Motion”). The Sale Motion and the Bidding
  Procedures Motion designated Buyer as the Stalking Horse Bidder for the sale of substantially all of
  the Debtors’ assets related to the Business.

 Subsequent to the filing of the Sale Motion and the Bidding Procedures Motion, the Trustee filed
  the Motion for Approval of Settlement and Compromise Between Trustee and Western Alliance
  Bank [Dkt. 777] (the “Settlement Motion”). Among other things, the Settlement Motion changed
  the proposed sale from an auction process to a private sale to Buyer, subject to approval by the
  Bankruptcy Court.

 Pursuant to the terms of the PSA, as amended, Buyer is acquiring the designation rights held by the
  Debtors, and will have until May 21, 2016, to assume and assign certain executory contracts and
  unexpired leases, including franchise agreements with the Franchisors, and including non-
  residential real property leases for numerous franchise restaurant locations. Buyer intends to reject
  leases for stores that are not operating at profitable levels, unless certain rent concessions can be
  obtained to improve the profitability of the respective stores.

 As the proposed Buyer for the sale of the Debtors’ assets, Starcorp, LLC is providing the
  information in this adequate assurance package to the Debtors and counterparties to executory
  contracts and unexpired leases, as well as counterparties to certain designated secured financing
  agreements.


  PART II: ABOUT STARCORP, LLC

 Starcorp will operate the Business through two wholly-owned subsidiaries: Starcorp HD, LLC, and
  Starcorp, CJ, LLC. Starcorp, LLC, Starcorp HD, LLC and Starcorp CJ, LLC were organized as
  limited liabilities companies under Delaware law on November 10, 2015. Starcorp, Starcorp HD,
  LLC and Starcorp CJ, LLC are collectively referred to as the “Starcorp Group.” The Starcorp
  Group organizational structure is shown in Figure 1, below.

 The Starcorp Group has no operating history and was formed as a special purpose vehicle for
  purposes of acquiring the Debtors’ assets. Starcorp is wholly owned by Eric Lester, who will act as
  Starcorp’s CEO. The day-to-day operations of the Starcorp Group will be managed by an
  operations team led by Dave Glodowski. Mr. Glodowski is a long-time Hardee’s franchise
  operator, and is a former board member of the IHFA (Independent Hardee's Franchisee Association)
  and CFA (Coalition of Franchisee Associations). Mr. Glodowski is a well-respected operator in the
  franchise restaurant industry, and is approved by Franchisors to lead Starcorp’s operations team.

 Eric Lester is an individual residing in the State of Nevada. Mr. Lester is a business owner, and he
  and his family members are the landlords for several franchise restaurants operated by the Debtors.
  Mr. Lester is also a member of FS1.




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 The purpose of this presentation is to provide counterparties to executory contracts and lessors
  under unexpired leases with “adequate assurance” of the Starcorp Group’s ability to perform
  obligations under contracts and leases to be assumed and assigned by the Debtors.

 The Starcorp Group has secured a commitment for $38,000,000 of financing from Western Alliance
  Bank, which consists of one $25,000,000 term loan, and a non-revolving line of credit of up to
  $13,000,000. The entire term loan, an initial advance of $9,000,000 from the line of credit, and at
  least $7,000,000 contributed from Eric Lester, will provide the funds to complete the acquisition of
  the Debtors’ assets, as designated in the PSA. Eric Lester will also contribute $2,000,000 in cash to
  Starcorp as needed.

 As of immediately prior to Closing, the Starcorp Group will be capitalized with between
  $45,000,000 and $47,000,000 of cash, including financing secured by the acquired assets, which
  shall be sufficient to (i) satisfy assumed liabilities that are to be paid at the Closing, (ii) satisfy other
  obligations to be paid at or after the Closing in connection with the operation of the Business,
  including amounts owed to key vendors and counterparties, and (iii) provide necessary working
  capital for business operations.

 After closing the acquisition of the Debtors’ designated assets, the Starcorp Group anticipates
  having over $2,000,000 in cash, as well as $4,000,000 of remaining availability under the line of
  credit to provide working capital to operate its business. The Starcorp Group will have sufficient
  capital to continue the operations of the Business, including in connection with the contracts and
  leases to be assumed and assigned under the PSA, consistent with Starcorp’s objectives.

 Starcorp expects to generate over $8,260,000 in pro forma cash flow from operations in 2016, less
  projected capital expenditures.

   Figure 1 – Starcorp Group Organizational Structure:


                                                   Eric Lester




                                                  Starcorp, LLC




                                                                 Starcorp CJ,
                                  Starcorp HD, LLC
                                                                     LLC




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PART III - FINANCIAL INFORMATION

              Purchase Price Sources                            Capital Structure and Credit Metrics

($ in millions)                                           *Assumes March 31, 2016 closing
Purchase Price Sources                                    ($ in millions)
        Amount
 st
1 Term Loan                                     $25.0     Cash                                         $2.0
                                                          Available Line of Credit                     $4.0
Line of Credit                                  $13.0
                                                          Debt Outstanding
Equity Contribution                              $9.0     1st Term Loan:                               $25.0
                                                          Line of Credit:                              $9.0
        Total Purchase Price Sources: $47.0               Equipment Loans1:                            $1.3
                                                          Other:                                       $1.5
             LOC Availability Analysis                      Total Debt:                                $36.8
        Starcorp, LLC has a commitment for a                       2
         $13,000,000 line of credit from Proj. 2016 EBITDA :                                           $8.3+
         Western Alliance Bank                  (Debt – Cash)/Proj. EBITDA                             4.2x
        At closing, an initial advance of
         $9,000,000 will be used to acquire the
         Debtors’ assets
        Per current estimates, Starcorp, LLC
         will have ~$4mm of LOC availability
         after funding and closing the purchase
         of the Debtors’ assets, and will also
         have ~$2M in cash available.



CONTACT INFORMATION

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1
    Assumes maximum amount of equipment loans that could be assumed by Buyer.
2
    Based on Debtors’ 2015 financial performance, adjusted to account for changes in rent, and store closures.



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